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 8                                 UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    JIMMY LEE VERNON, JR.,                      No. 2:23-cv-1829 DJC AC PS
12                    Plaintiff,
13          v.                                    ORDER
14    METROPOLITAN LIFE INSURANCE
      COMPANY; KAITLYN CRAWFORD;
15    BRENDA KOLOGY; JOHN AND JANE
      DOES 1-5,
16
                      Defendants.
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19         Plaintiff is a state prisoner proceeding in pro per. The matter was referred to a

20   United States Magistrate Judge pursuant to Local Rule 302(c)(21).

21         On April 29, 2024, the Magistrate Judge filed findings and recommendations

22   herein which were served on Plaintiff and which contained notice to Plaintiff that any

23   objections to the findings and recommendations were to be filed within twenty-one

24   days. ECF No. 28. Plaintiff has filed objections to the findings and recommendations.

25   ECF No. 30. Defendants have filed a response to the objections to the findings and

26   recommendations. ECF No. 31.

27         The Court has reviewed the file and finds the findings and recommendations to

28   be supported by the record and by the Magistrate Judge’s analysis. Accordingly, IT IS
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     Case 2:23-cv-01829-DJC-AC Document 33 Filed 06/07/24 Page 2 of 2


 1   HEREBY ORDERED that:

 2            1. The findings and recommendations filed April 29, 2024, are adopted in full;

 3            2. The motion to dismiss at ECF No. 18 is GRANTED and the motion at ECF No.

 4   24 is VACATED and construed as a reply brief;

 5            3. The first amended complaint (ECF No. 9) is DISMISSED; and

 6            4. Plaintiff is given 30 days to file an amended complaint bringing claims under

 7   ERISA.

 8            5. This matter is referred back to the Magistrate Judge for all further pretrial

 9   proceedings.

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              IT IS SO ORDERED.
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12   Dated:      June 7, 2024
                                                     Hon. Daniel J. Calabretta
13                                                   UNITED STATES DISTRICT JUDGE
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